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Exhibit S
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                         WATCHTOWER
                         BIBLE AND TRACT SOCIETY OF NEW YORK, INC.
                                                                                        CABLE WATCHTOWER



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                                                               July 1, 1989


TO ALL BODIES OF ELDERS IN THE UNITED STATES


                                                                                   C ON f I D E NT I A L

Dear Brothers:

     We are writing to help all of you as individual elders be aware
of a growing concern regarding the handling of your duties that may
involve legal issues or questions. Due to its importance, the
presiding overseer should arrange for a special meeting of the body
of elders to read and consider this letter carefully.
      In spreading the Kingdom message, it is appropriate that we be
bold and outspoken. Jesus commanded that "what you hear whispered,
preach from the housetops."   (Matthew 10:27) Even when worldly
authorities demand that we keep silent, we reply as did the apostles:
"We cannot stop speaking about the things we have seen and heard."
(Acts 4:20)   The Christian congregation will continue to declare the
Kingdom message boldly until Jehovah says the work is done.

     Elders share the obligation to shepherd the flock.   However,
they must be careful not to divulge information about personal
matters to unauthorized persons. There is "a time to keep quiet,"
when "your words should prove to be few."   (Ecclesiastes 3:7; 5:2)
Proverbs 10:19 warns: "In the abundance of words there does not fail
to be transgression, but the one keeping his lips in check is acting
discreetly." Problems are created when elders unwisely reveal
matters that should be kept confidential. Elders must give special
heed to the counsel: "Do not reveal the confidential talk of
another."  (Proverbs 25:9) Often the peace, unity, and spiritual
well-being of the congregation are at stake.  Improper use of the
tongue by an elder can result in serious legal problems for the
individual, the congregation, and even the Society.

     While we as Christians are ready to forgive others who may wrong
us, those in the world are not so inclined. Worldly persons are
quick to resort to lawsuits if they feel their "rights" have been
violated. Some who oppose the Kingdom preaching work readily take
advantage of any legal provisions to interfere with it or impede its
progress. Thus, elders must especially guard the use of the tongue.
Jesus faced opposers who tried to "catch him in speech, so as to turn
him aver to the government."   (Luke 20: 20) He instructed us to be
"cautious as serpents and yet innocent as doves" in such situa-
tions.  (Matthew 10:16) Where such a threat exists, our position as
elders should be in line with David's words:   "I will set a muzzle as
a guard to my own mouth, as long as anyone wicked is in front of
me."-Psalm 39:1.




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      In recent years, this matter has come to be a cause for
increasing concern. The spirit of the world has sensitized people
regarding their legal "rights" and the legal means by which they can
exact punishment if such "rights" are violated. Hence, a growing
number of vindictive or disgruntled ones, as well as opposers, have
initiated lawsuits to inflict financial penalties on the individual,
the congregation, or the Society. Many of these lawsuits are the
result of the misuse of the tongue. As elders, remember that
ill-advised statements or actions on your part can sometimes be
interpreted legally as violating others' "rights."

     The need for elders to maintain strict confidentiality has been
repeatedly stressed. Please see The Watchtower of April 1, 1971,
pages 222-4, and September 1, 1987, pages 12-15. The September 1977
Our Kingdom Service, page 6, paragraph 36, and the kJ;;IJ__ text- book,
page 65, also provide helpful direction and counsel. That material
strongly emphasized the elders' responsibility to avoid revealing
confidential information to those not entitled to it.

     The legal consequences of a breach of confidentiality by the
elders can be substantial.  If the elders fail to follow the
Society's direction carefully in handling confidential matters, such
mistakes could result in successful litigation by those offended.
Substantial monetary damages could be assessed against the elders or
congregation.  In some cases where the authorities are involved,
certain complications could lead to a fine or imprisonment. These
possibilities underscore the need for elders to be discerning and to
follow carefully directions provided by the Society.

                  I.   WHAT TO DO IN SPECIFIC CASES

     A.   Judicial Committee Matters

        Judicial committees must follow carefully the Society's
instructions in carrying out their duties.     (Note )5J;;J_J_, pages 66-70;
kll_fil, pages 160-70.)  Anything submitted in writing to the committee
by the alleged wrongdoer or by witnesses should be kept in strict
confidence.     If it is necessary to continue at a later time a commit-
tee hearing, the members of the committee should submit to the chair-
man any personal notes they have taken. The chairman will keep these
notes in a secure place to prevent breaches of confidentiality. The
notes may be returned to the individual elders when the hearing
resumes. Upon conclusion of the case, the chairman should place only
necessary notes and documents, a summary of the case, and the S-77
forms in a sealed envelope for the congregation file.          Nothing should
be preserved outside of this sealed envelope (including unnecessary
personal notes) by any elder on the committee. Obviously, no
committee will ever allow judicial proceedings to be tape recorded or
allow witnesses testifying before the committee to take notes.



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     B.   Child Abuse

     Many states have child abuse reporting laws. When elders
receive reports of physical or sexual abuse of a child, they should
contact the Society's Legal Department immediately. Victims of such
abuse need to be protected from further danger.-See "If the Worst
Should Happen," Awake! January 22, 1985, page 8.

     C.   Search Warrants and Subpoenas

     1. A search warrant is a court order authorizing the police to
search premises to locate evidence that may be used in a criminal
prosecution. No elder should ever consent to the search of a Kingdom
Hall or any other place where confidential records are stored. How-
ever, armed with a search warrant the police do not need consent and
may even use force to accomplish their task. Likely before obtaining
a search warrant, the police or other governmental officials will
make inquiries regarding confidential records, make request to obtain
the records, or indicate that they will seek a search warrant if the
elder(s) involved does not cooperate.  In any such situation, the
Society's Legal Department should be called immediately.

     At any time an elder is confronted with a search warrant
(whether given advance notice or not), the elder should first ask to
read the warrant. After reading it he should ask if he can call for
legal guidance and then call the Society's Legal Depa, .ment.   If for
some reason the Legal Department cannot be contacted, the elders in-
volved should make every effort to obtain the assis dnce of a local
attorney for the purpose of protecting the confidentiality of the
records.  It may be impossible to stop determiner, officers from
conducting the search authorized by the warrant. Conscientious
elders will want to do all they reasonably •r:cl peaceably can to
preserve the confidentiality of the congregation in harmony with the
principle set out in Acts 5:29.

     2. Subpoenas are demands for records or for the appt~rance of
an individual at a trial or deposition to give testimony. Subpoenas
may be issued by a court or in some cases by a governmental agency or
an attorney.  If an elder receives a subpoena, he should contact the
Society's Legal Department J '!1' r1i.ately.
                               0
                                             Never turn over records,
notes, documents, or reveal any c0nfidential matter sought by
subpoena without receiving direction from the Legal Department.

     D.   Crimes and Criminal Investigations

     In some cases the elders will form judicial committees to handle
alleged wrongdoing that also could constitute a violation of Caesar's
criminal laws (e.g., theft, assault, etc.). Generally, a secular
investigation into a matter that is a concern to the congregation
should not delay conducting a judicial hearing. To avoid entangle-
ment with the secular authorities who may be investigating the same
matter, the strictest confidentiality (even of the fact that there is
a committee) must be maintained.



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      If the alleged wrongdoer confesses to the sin (crime), no one
else should be present besides the members of the committee. When
evidence supports the accusation but genuine repentance is not
displayed resulting in a decision to disfellowship, this should be
handled in the normal course regarding advice of appeal rights and
announcements to the congregation.   In cases of serious criminal
wrongdoing (e.g., murder, rape, etc.), or where the criminal conduct
is widely known in the community, the body of elders should contact
the Society before proceeding with the judicial committee process.

     E.   When Servants and Publishers Move

      A considerable number of publishers, including elders and
ministerial servants move from one congregation to another.
Sometimes the circumstances surrounding their departure are
unsettled. Some appointed brothers may be experiencing problems that
have brought their qualifications into question.   It is not uncommon
for a body of elders to hold back in giving counsel, allowing a
brother to move without discussing his problem. Thereafter, they
decline to recommend his reappointment in his new congregation.
Often such a brother protests, requiring extensive correspondence
between the bodies of elders. Much personal, and sometimes embar-
rassing, information must then be passed on. Such mishandling of
things greatly increases the potential for serious repercussions.
Problems can be avoided by the body of elders assuming its respon-
sibility to inform a brother that he will not be favorably recom-
mended, fully explaining the reasons why.   Every effort should be
made to resolve any difference before he leaves, eliminating any need
for controversy involving his new congregation. The body should
assign two elders to meet with him before he moves, letting him know
whether they are recommending him to the new congregation.

     This would likewise apply to publishers who move at a time when
their personal conduct requires investigation by the elders.  If
serious accusations of wrongdoing have been made against an
individual and he moves to another congregation before matters are
finalized, usually it is best for the elders in the original
congregation to follow through in handling matters, if possible and
if distance permits. They are acquainted with the individual and the
circumstances surrounding the alleged wrongdoing; this ordinarily
puts them in the best position to get the facts and to handle the
case. Handling matters in this way will eliminate the need to reveal
confidential information unnecessarily about the private lives of
individuals.

     F.   When Lawsuits Are Threatened

      If the congregation or the elders (in their capacity as elders)
are threatened with a lawsuit, the Society's Legal Department should
be contacted immediately. No statements should be made by any member
of the body of elders about the merits or validity of an actual or
threatened lawsuit without authorization from the Society.



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     G.   Child Custody

      Elders may learn that a publisher is facing a dispute over child
custody in a divorce proceeding.   If the parental rights of such is
challenged on the basis of our Christian beliefs, or on the assertion
that our beliefs are harmful to a child's best interests, the elders
should immediately write to the Society's Legal Department.   In a
rare emergency, a telephone call may be necessary. The Legal Depart-
ment will assess the facts and determine the degree of its involve-
ment, if any. Elders have no authority to make any promises about
the Society's paying legal fees or handling specific cases. There is
no need to contact the Society if there is no indication that the
beliefs and practices of Jehovah's Witnesses will be attacked in a
child custody dispute.

     When you write to the Society's Legal Department about a
specific case, please provide the following information:

     1.   The names of the parents and their attorneys.
     2.   The number of children involved and their ages.
     3.   A brief description of the facts, including the presence of
          any apostates.
     4.   An assessment of the Christian parent's spiritual
          condition-Is he or she new in the truth? Active? Inactive?
          Balanced?
     5.   The status of the legal proceedings-Has the matter gone to
          trial? Has the trial date been set? If so, when?

                   II.    POINTS TO REMEMBER

     A.   Appreciate the Importance of Maintaining Confidentiality

     Elders must exercise extraordinary caution when it comes to
handling confidential information about the private lives of others.
Do not mistakenly minimize the gravity of a breach of
confidentiality. Unauthorized disclosure of confidential information
can result in costly lawsuits. Even if a lawsuit turns out
favorably, valuable time and energy that could have been devoted to
Kingdom interests will be lost.

     B. Do Not Make Statements to Secular Authorities Until You
Receive Legal Advice from the Society

     You are not legally required to make immediate responses to
secular authorities about matters that could involve the disclosure
of confidential information. Voluntarily allowing the Kingdom Hall
or confidential records to be searched, where no search warrant is
produced, could infringe on the legal rights of the congregation or
of others. No statements should be made until you have an
understanding of your legal position from the Society's Legal
Department.




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     C.   Be Extremely Careful with Written Material

     All material related to judicial matters should be kept in a
safe place, accessible only to elders. Final reports on the handling
of judicial matters should be placed in a sealed envelope in the
congregation file. A judicial committee should avoid sending to an
individual any kind of correspondence that accuses him of specific
wrongdoing.   (Note K.J;',]_J_, pages 68-9.)  Nothing should be put in
writing to any disfellowshipped person to advise him of his status or
the reasons for it without specific direction from the Society.          The
rules and procedures of Jehovah's Witnesses do not require such
written disclosures. Anything in writing submitted to a judicial
committee should be kept in strict confidence.         If a judicial
committee disfellowships an individual, he should be informed orally
of the action taken and of the right to appeal.         If the wrongdoer
refuses to attend the hearing, two members of the judicial committee
should attempt to contact the individual at his home and inform him
orally of the decision.         If this is not possible, the two elders may
be able to inform him by telephone.

     D.   Guard the Use of Your Tongue

     Think before you speak. Do not discuss private and judicial
matters with members of your family, including your wives, or with
other members of the congregation. Be extremely careful not to
inadvertantly disclose private information when others are present,
such as when speaking on the telephone with others listening in or
nearby.  (Note K.J;',]_J_, page 65.) At times, complicated judicial cases
may necessitate consultation with an experienced, mature elder in
another congregation or with the circuit overseer. Unless the
circuit overseer is the elder consulted, only the pertinent details
should be discussed and names should not be used.

     Elders bear a heavy responsibility in ministering to the needs
of the Christian congregation, and observing confidentiality as they
do so.  (1 Corinthians 16:13) We trust that the information in this
letter will help you carry this burden. Please be assured of our
love and prayers, and may Jehovah continue to bless you as you
shepherd his flock.-1 Peter 5:1-3.

                                    Your brothers,




P.S. Due to the importance of the information that is presented
herein it is suggested that the body of elders jointly read and
consider this letter as soon as possible after its receipt in the
congregation. Please do not make any copies of this letter, nor
should it be read by others.  It should be kept in the congregation's
confidential files for any future reference that may be required by
the body of elders.


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